
In re: Our Lady of Lourdes Hospital, Darrell Gregory and Hartford Accident &amp; Indemnity Co. applying for writ of review, or certiorari, to the Court of Appeal, Third Circuit, Parish of Lafayette. 350 So.2d 205.
Writ Denied In Part, Granted In Part.
We find no error requiring review by this Court as to any assignment relating to the judgment in favor of the plaintiffs against the defendants cast; accordingly, writs are denied as to further review of this judgment, including its modification for limited remand by the Court of Appeal.
However, insofar as the applicants urge that erroneous rulings as to the “locality rule” prevented the defendants from securing a factual determination that the negligence of Dr. James Bozeman also contributed to the injury, we grant the writ to determine whether, for purposes of third-party demands, error was committed by the rulings complained of by Assignments 1, 2, 3 of Docket Nos. 60,992 and 61,008 and by Assignment 2 of Docket No. 61,011 which errors had the effect of depriving the defendants of evidence relevant to a determination of this doctor’s negligence and whether same was a contributory cause of decedent’s death.
The writs are denied as to all other assignments of error urged including the only assignments raised in # 60,993.
